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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JENNIFER LYNN WILLIAMS,                  : Civil No. 1:20-CV-946
                                         :
          Plaintiff                      :
                                         :
     v.                                  : (Magistrate Judge Carlson)
                                         :
KILOLO KIJAKAZI,                         :
                                       1
Acting Commissioner of Social Security, :
                                         :
          Defendant                      :
                                    ORDER

      AND NOW, this 3d day of December, 2021, in accordance with the

accompanying Memorandum Opinion, the final decision of the Commissioner is

AFFIRMED. The Clerk of Court is directed to close this case.



                                           /s/ Martin C. Carlson
                                           Martin C. Carlson
                                           United States Magistrate Judge




1
  Kilolo Kijakazi became the Acting Commissioner of Social Security on
July 9, 2021. Accordingly, pursuant to Rule 25(d) of the Federal Rules of Civil
Procedure and 42 U.S.C. § 405(g), Kilolo Kijakazi is substituted for Andrew
Saul as the defendant in this suit.
